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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

    PETER J. MESSITTE                                                               6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                      GREENBELT, MARYLAND 20770
                                                                                           301-344-0632




                                                  REVISED
                                                MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Peter J. Messitte

       RE:            The District of Columbia et al. v. Trump
                      Civil No. PJM 17-1596

       DATE:          November 27, 2018

                                                      ***

       The Court has received Plaintiffs’ proposed schedule for discovery (ECF No. 138). Defense
       counsel are directed to promptly advise the Court if they plan to submit a response to the proposed
       schedule. If so, the response should be submitted to the Court no later than Friday, November 30.
       Otherwise, the Court finds the proposed schedule reasonable and will issue a Scheduling Order on
       Monday, December 3, 2018, incorporating the suggested deadlines.


       Despite the informal nature of this ruling, it shall constitute an Order of the Court and the Clerk
       is directed to docket it accordingly.



                                                                        /s/
                                                                   PETER J. MESSITTE
                                                             UNITED STATES DISTRICT JUDGE
       cc:     Court File
